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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                                                        Case No. 19-11433


 JOHN J. O’BRIEN and
 ELIZABETH TAVARES
                               Plaintiffs,

                         v.

 HON. ROBERT A. MULLIGAN (Ret.),
                               Defendant.


                              NOTICE OF APPEARANCE

       Please enter the appearance of the undersigned as the attorney for the Defendant

Hon. Robert A. Mulligan (Ret.) in the above-captioned action.

                                             DEFENDANT
                                             ROBERT A. MULLIGAN (Ret.),
                                             By its Attorneys

                                             MAURA HEALEY
                                             ATTORNEY GENERAL

                                             _/s/ Jesse M. Boodoo___________
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                                             Government Bureau/Trial Division
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Date: July 30, 2019
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                            CERTIFICATE OF SERVICE

        I, Jesse M. Boodoo, certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF).

                                     _/s/ Jesse M. Boodoo_________
                                     Jesse M. Boodoo




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